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                                                               UNITED STATES BANKRUPTCY COURT
                             15
                                                               NORTHERN DISTRICT OF CALIFORNIA
                             16
                                                                      SAN FRANCISCO DIVISION
                             17

                             18                                               Bankruptcy Case No. 19-30088 (DM)
                                                                              Chapter 11
                             19     In re:                                    (Lead Case) (Jointly Administered)

                             20     PG&E CORPORATION,                         NOTICE OF CONTINUED HEARING ON
                                                                              MOTION PURSUANT TO 11 U.S.C. § 363(b)
                             21              - and -                          AUTHORIZING DEBTORS TO PAY THE FEES
                                                                              AND EXPENSES OF SIMPSON THACHER &
                             22     PACIFIC GAS AND ELECTRIC                  BARTLETT LLP AS COUNSEL TO THE
                                    COMPANY,                                  INDEPENDENT DIRECTORS OF PG&E CORP.
                             23                                               [Re: Dkt No. 1182]
                                                                   Debtors.
                             24                                               Date: May 9, 2019
                                     Affects PG&E Corporation                Time: 9:30 a.m. (Pacific Time)
                             25      Affects Pacific Gas and Electric        Place: United States Bankruptcy Court
                                    Company                                          Courtroom 17, 16th Floor
                             26      Affects both Debtors                           San Francisco, CA 94102

                             27     * All papers shall be filed in the Lead   Objection Deadline: May 2, 2019
                                    Case, No. 19-30088 (DM).                                      4:00 p.m. (Pacific Time)
                             28

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                                                                               2
             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
 1   Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 3   Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
     of California (San Francisco Division) (the “Bankruptcy Court”).
 4
             PLEASE TAKE FURTHER NOTICE that on April 2, 2019, the Debtors filed the Motion
 5   Pursuant to 11 U.S.C. § 363(b) Authorizing Debtors to Pay the Fees and Expenses of Simpson
 6   Thacher & Bartlett LLP as Counsel to the Independent Directors of PG&E Corp. [Dkt No. 1182]
     (the “Application”). Concurrently with the Application, the Debtors filed a notice of hearing [Dkt
 7   No. 1184], which stated that: (1) any oppositions or responses to the Application must be in writing,
     filed with the Bankruptcy Court, and served on the counsel for the Debtors at the above-referenced
 8   addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on April 17, 2019; (2) all
     oppositions and responses must be filed and served pursuant to the Order Implementing Certain
 9
     Notice and Case Management Procedures (as amended, the “Case Management Order”) [Dkt No.
10   759] entered on March 6, 2019, which was amended on March 27, 2019 [Dkt. No. 1093]; and
     (3) any oppositions or responses must be served on all “Standard Parties” as defined in paragraph 5
11   of the Case Management Order.

12          PLEASE TAKE FURTHER NOTICE that the hearing on the Application will be
     continued from its hearing date of April 24, 2019, to the omnibus hearing on May 9, 2019, at
13
     9:30 a.m. (Pacific Time) in the courtroom of the Honorable Dennis Montali, United States
14   Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden Gate Avenue, San Francisco, California
     94102. The deadline for parties to file responses or oppositions to the Application is extended to
15   4:00 p.m. (Pacific Time) on May 2, 2019. All oppositions and responses must be filed and served
     pursuant to the Case Management Order.
16
              PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
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     viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
18   contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC, at
19   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
20   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
21   Dated: April 17, 2019
22                                           WEIL, GOTSHAL & MANGES LLP
                                             KELLER & BENVENUTTI LLP
23

24                                           /s/ Thomas B. Rupp
25                                                      Thomas B. Rupp

26                                           Attorneys for Debtors and Debtors in Possession

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